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AO440(Rev.lZ/'O9) Summons in a Civi| Action

UNITED STATES DISTRICT COURT

for the
Western District of Oklahoma

STACY WlLLlSJ as personal representative of the )
Estate of MITVHELL EVERETT WlLLlS, )
deceased )
)
Plaintiff(s), )
)

v- ) CaS€ NO- CIv_is-szs_r)
OKL,Al-lOMA COUNTY DETENTION )
CENTER', et al. )
)
)
Defendant(s). )

SUMMONS ]N A CIVIL ACTION

To: (Defendant ’S name and address)
Johnathon Johnson

l l 100 Roxboro Ave. Apt. 2516
Oklahoma City, OK 73162-2555

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fecl.
R. Civ. P. lZ(a)(Z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules ofCiv:il Procedu;re. The answer or motion must be seiyed on the plaintiff or plaintiff s

attorney, whose name and address are:
Micl<y Walsh & Derek S. Franseen

Walsh & Franseen
200 E. l()th Street Plaza
Edmond, OK 73034

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint You also must file your answer or motion with the court.

SUMMONS lSSUED:
10:24 am. Dec 05, 2018
CARMELITA REEDER SH!NN, Clerk

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By`_ ,,_;(!§ § m
eputyCIerk

 

Signea' and sealed by the C!erk oft/19 Com'! or Deptr.ty Cler'k.

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AO 440 (Rev, 02¢'09) Sumrncns in a Civil Action (Page 2}

Civil Action No. ClV-18~323-D

PROOF OF SERVICE
(Tln`s section should not bejiled with the court unless required by Fed. R. Civ. P. 4(¢'))

Thi$ SUmmOI‘lS for maine cfindividua." and titfe, ifuny) 454 ,v/+ ¢;;7!4 ()//; jo zj h j 043/4
was received by me on (daze) f Ci"} »Z§C?/'

 

 

d l personally served the summons on the individual at (;)!ace) ,§'Q_, 69 f A}f wl a Z_ )Mj /¢Y?,J'¢i 63 //
Q](C Oj(', 7312§ 011(€1€1!€)5%,2§”/ "

 

 

fl l left the summons at the individual’s residence or usual place of abode with mrne)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

\:l l served the summons on maine ofmdr‘vidzml) , who is

 

designated by iavv to accept service of process on behalf of maine ofmgani: arrow

 

on (dme) ; or

 

|:l l returned the summons unexecuted because ; or

 

|:l O‘[l'lel‘ (specijj)).'

My fees are $ for travel and $ for services-, for a total of $ {)_()() .

1 declare under penalty cf perjury that this information is true.

   

Date:

 

 

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/'Lr 5 ioij ':r /

 

Pr hired name c:ZJH/e

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%/M; m re w §/@:~az/az§?j/

Sein ver s address

Additional information regarding attempted service, etc:

